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                     EXHIBIT 2
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VIRGINIA:
              In the Court of Appeals of Virginia on Thursday the 16th day of February, 2023.


J.M. and S.M.,                                                                                      Petitioners,

against              Record No. 1855-22-2
                     Circuit Court No. CL22000186-00

A.A. and F.A.,                                                                                      Respondents.


                            Upon a Petition for Review Under Code § 8.01-675.5(A)


       J.M. and S.M.,1 Petitioners, seek interlocutory review under Code § 8.01-675.5(A) of the circuit

court’s denial of their plea in bar to A.A. and F.A.’s, Respondents, challenge to a final order of adoption.

This interlocutory appeal arises from a collateral challenge to a final order of adoption entered by the

Fluvanna County Circuit Court. For our purposes, it involves a question of jurisdiction, raised sua sponte by

this Court.

       On December 3, 2020, the circuit court entered a final order granting Petitioners’ petition for adoption

of L.M. who, according to Petitioners, is an orphan of war and a victim of terrorism. She was rescued from

the battlefield in Afghanistan by U.S. forces when she was an infant,2 and came to the United States through

the efforts of J.M., a major in the United States military and now her adoptive father. Respondents are an

Afghan couple who acted as L.M.’s caretakers after she left the protection of the Department of Defense and

before she was brought to the United States. Respondents filed a petition to vacate the circuit court’s final

order of adoption on November 22, 2021, alleging that the adoption order was procured via fraud on the court

and seeking an award of full legal and physical custody of L.M. Petitioners filed a demurrer objecting to



       1
        In a separate order issued the same day by this Court, we granted Respondents’ Motion to proceed
by Pseudonyms. Therefore, we refer to the parties as such, in this Order.
       2
           L.M. is now three years old.
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Respondents’ collateral challenge to the order of adoption, as the order became final six months after being

entered, pursuant to Code § 63.2-1216. The circuit court acknowledged that the procedural bar contained in

Code § 63.2-1216 applied to the case. Further, the circuit court agreed with Petitioners that the narrow

exceptions to Code § 63.2-1216 recognized in F.E. v. G.F.M., 35 Va. App. 648 (2001), and McCallum v.

Salazar, 49 Va. App. 51 (2006), based on the due process rights of parents, did not apply, as Respondents

were not L.M.’s parents. However, the circuit court nevertheless overruled the demurrer and allowed

Respondents to proceed on their petition to vacate, stating that even though Respondents were not L.M.’s

parents—or even her legal guardians—they should be “treated as parents” for purposes of the due process

analysis. Petitioners thereafter filed a motion which sought an interlocutory appeal of that order pursuant to

Code § 8.01-675.5(A), which the circuit court granted.

       Upon receipt of the instant appeal, and noting an anomaly contained in the Virginia Code’s provisions

pertaining to interlocutory appeal, this Court sua sponte raised the issue of its jurisdiction to hear the appeal.

Specifically, this Court noted that the statute granting the Court of Appeals jurisdiction to hear certain

appeals, Code § 17.1-405, was amended in 2022. Prior to the amendment, that section expressly gave this

Court jurisdiction to hear interlocutory appeals pursuant to Code § 8.01-675.5, among others listed. See 2021

Va. Acts Spec. Sess. I, ch. 489 (amending Code § 17.1-405(4) to provide that this Court has jurisdiction in a

petition for interlocutory review of a “decree or order pursuant to [Code] § 8.01-267.8, 8.01-626, or

8.01-675.5”). Consistent with that grant of jurisdiction, the General Assembly enacted Code § 8.01-675.5(A),

which required petitioners to seek review of certified interlocutory orders with this Court. Id. However, the

2022 amendment specifically deleted Code § 8.01-675.5 from the list of statutes contained in Code

§ 17.1-405. See 2022 Va. Acts ch. 307 (amending and reenacting Code §§ 8.01-626, 8.01-675.5, 17.1-404,

and 17.1-405, including removing Code § 8.01-675.5 from Code § 17.1-405(4)).

       The issue before this Court is whether we have jurisdiction to entertain a petition for interlocutory

review of an order pursuant to Code § 8.01-675.5(A) despite the amendment to Code § 17.1-405(4) that

deleted Code § 8.01-675.5 from its explicit list of appealable statutes. Petitioners, as well as the Guardian ad
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Litem for L.M., argue that Code § 17.1-405 “implies that the list of appealable matters is not exhaustive, and

that the statute only applies when other statutes do not provide jurisdiction.” They find evidence for this

proposition in the language found at the beginning of the statute, which states: “Unless otherwise provided by

law . . . .” The existence of Code § 8.01-675.5 elsewhere in the Virginia Code, therefore, impliedly confers

jurisdiction on this Court to hear Petitioners’ interlocutory appeal.3 Respondents argue that Petitioners take

this language out of context. Respondents would read this language not to imply that the list of permissible

statutes set out in Code § 17.1-405 is not exhaustive, but instead to modify the permissive phrase “any

aggrieved party may appeal,” also contained in the statute. Therefore, that language is not expansive, but

rather, restrictive. We agree with Respondents.

       This Court’s existence and authority “are entirely prescribed by statute.” Kelly v. Stamos, 285 Va. 68,

75 (2013). It is “without authority” to hear any appeal “[u]nless a statute confers subject matter

jurisdiction . . . over [that] class of appeals.” Lewis v. Lewis, 271 Va. 520, 524-25 (2006). Title 17.1, titled

“Courts of Record,” creates this Court and defines its jurisdiction. And Code § 17.1-405, entitled “Appellate

Jurisdiction . . . Civil Matter Appeals” provides that “any aggrieved party may appeal to the Court of Appeals

from” decisions in certain classes of cases. This Court’s civil jurisdiction is “limited by Code § 17.1-405 and

includes only subject matters specified by the statute.” All. to Save the Mattaponi v. Commonwealth, 270 Va.

423, 451 n.14 (2005). After the General Assembly first amended Code § 17.1-405 to confer jurisdiction over

appeals arising under Code § 8.01-675.5, 2021 Va. Acts Spec. Sess. I, ch. 489, it specifically eliminated that

grant, 2022 Va. Acts ch. 307. Statutory revisions carry “a presumption that the General

Assembly . . . intended to effect a substantive change in the law.” W. Lewinsville Heights Citizens Ass’n v.


       3
          Petitioners also assert that “foundational canons of statutory construction compel an interpretation in
favor of jurisdiction.” In their view, the “specific provision,” here, Code § 8.01-675.5(A), “controls over the
more general grant of jurisdiction” in Code § 17.1-405. Petitioners further contend that interpreting the
removal of Code § 8.01-675.5 from Code § 17.1-405(4) would render the former section “superfluous.” “The
one canon of construction that precedes all others is that ‘[w]e presume that the legislature says what it means
and means what it says.’” Tvardek v. Powhatan Vill. Homeowners Ass’n, Inc., 291 Va. 269, 277 (2016)
(alteration in original) (quoting In re: Woodley, 290 Va. 482, 491 (2015)). Therefore, we cannot agree with
Petitioners that statutory construction canons compel that we find that we have jurisdiction.
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Bd. of Supervisors, 270 Va. 259, 265 (2005). Thus, “[w]hen a statute or a group of statutes has been revised,

and the General Assembly has omitted provisions formerly enacted, the parts omitted may not be revived by

construction, but must be considered as annulled.” Cummings v. Fulgham, 261 Va. 73, 79 (2001).

       While these legislative actions may have resulted in an inconsistency between Code §§ 8.01-675.5 and

17.1-405, this Court does not have the authority to amend the General Assembly’s enactments. Lahey v.

Johnson, 283 Va. 225, 230 (2012) (“When the legislature has spoken plainly it is not the function of courts to

change or amend its enactments under the guise of construing them.”). Moreover, “we assume that the

General Assembly’s amendments to a statute are purposeful, rather than unnecessary.” Kerns v. Wells Fargo

Bank, N.A., 296 Va. 146, 157 (2018) (quoting W. Lewinsville Heights Citizens Ass’n v., 270 Va. at 265).

“And ‘when current and prior versions of a statute are at issue, there is a presumption that the General

Assembly, in amending a statute, intended to effect a substantive change in the law.’” Id. (quoting W.

Lewinsville Heights Citizens Ass’n v., 270 Va. at 265).

       Accordingly, we cannot dismiss this textual difference “as the product of an inadvertent drafting

mistake.” Id. Therefore, we view it, as we must, as removing petitions for interlocutory review under Code

§ 8.01-675.5(A) from this Court’s jurisdiction.

       Finally, we do not agree with Petitioners that Code § 8.01-675.5 itself provides a jurisdictional grant

to this Court. Instead, we view Code § 8.01-675.5 as merely providing a procedural framework through

which to appeal to this Court.

       Therefore, this Court must dismiss this petition for review for lack of subject matter jurisdiction.


                                          A Copy,

                                                  Teste:

                                                                     A. John Vollino, Clerk

                                                  By:

                                                                     Deputy Clerk

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